Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 1 of 20 Page ID #:1



 1   MAYER BROWN LLP
 2   JOHN NADOLENCO (SBN 181128)
     jnadolenco@mayerbrown.com
 3   DANIEL QUEEN (SBN 292275)
 4   dqueen@mayerbrown.com
     350 South Grand Avenue, 25th Floor
 5   Los Angeles, California 90071-1503
 6   Telephone: (213) 229-9500
     Facsimile: (213) 625-0248
 7
 8   HOGAN LOVELLS US LLP
     TOM BOER (SBN 199563)
 9   tom.boer@hoganlovells.com
10   3 Embarcadero Center, Suite 1500
     San Francisco, CA 94111
11   Telephone: (415) 374-2300
12   Facsimile: (415) 374-2499
13   Attorneys for Defendant
14   3M Company

15                        UNITED STATES DISTRICT COURT

16                      CENTRAL DISTRICT OF CALIFORNIA

17                                 SOUTHERN DIVISION

18   Orange County Water District, City of             Case No. 8:21-cv-1029
19   Anaheim, East Orange County Water District,
     City of Fullerton, City of Garden Grove, Irvine   NOTICE OF REMOVAL
20   Ranch Water District, City of Orange, City of
                                                       JURY TRIAL DEMANDED
21   Santa Ana, Serrano Water District, City of
     Tustin, and Yorba Linda Water District,
22
                     Plaintiffs,
23
           vs.
24
     3M Company, E.I. Du Pont De Nemours &
25   Company, The Chemours Company, Corteva,
26   Inc., DuPont de Nemours, Inc., Decra Roofing
     Systems, Inc., and Doe Defendants 1-100
27   inclusive,
28                   Defendants.


                                                  NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 2 of 20 Page ID #:2



 1         Defendant The 3M Company (“3M”), by undersigned counsel, hereby gives
 2   notice of removal of this action, pursuant to 28 U.S.C. §§ 1441, 1442(a)(1), and 1446,
 3   from the Superior Court of the State of California for the County of Orange, to the
 4   United States District Court for the Central District of California, Southern Division.
 5   3M is entitled to remove this action based on federal officer jurisdiction under 28
 6   U.S.C. § 1442(a)(1). As further grounds for removal, 3M states as follows:
 7                             PRELIMINARY STATEMENT
 8         1.     Plaintiffs seek to hold 3M and other Defendants liable for their alleged
 9   conduct in designing, manufacturing, and selling per- and polyfluoroalkyl substances
10   (“PFAS”), including perfluorooctanoic acid (“PFOA”), and perfluorooctane sulfonic
11   acid (“PFOS”), that purportedly impacted local groundwater and surface waters and
12   thereby contaminated Plaintiffs’ water supplies.
13         2.     The alleged contamination plausibly resulted—at least in part—from
14   the use, storage, or disposal of PFAS-containing aqueous film-forming foams
15   (“AFFF”) which were developed for sale to the United States military in accordance
16   with the rigorous military specifications (“MilSpec”). Plaintiffs themselves have
17   identified PFAS releases at military bases in the vicinity of their water supplies as
18   likely sources of the contamination for which they are seeking to recover through this
19   litigation. And the U.S. Department of Defense (“DOD”) has determined that AFFF
20   use at those military bases is responsible for the PFAS releases there. Because
21   Plaintiffs’ claims arise from alleged PFAS contamination that plausibly derives, at
22   least in part, from the use of MilSpec AFFF, 3M intends to assert the federal
23   government contractor defense in response to those claims.
24         3.     3M thus is entitled to remove this action under the federal officer
25   removal statute, 28 U.S.C. § 1442(a)(1), to have its federal defense adjudicated in a
26   federal forum. Multiple courts have held that AFFF manufacturers properly removed
27   cases to federal court on the ground that the plaintiffs’ claims plausibly arose at least
28   in part from MilSpec AFFF. See, e.g., Nessel v. Chemguard, No. 1:20-cv-1080, 2021

                                               -1-
                                                     NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 3 of 20 Page ID #:3



 1   WL 744683, at *4 (W.D. Mich. Jan. 6, 2021); In re Aqueous Film-Forming Foams
 2   Prods. Liab. Litig. (“In re AFFF”), No. 2:18-mn-2873, 2019 WL 2807266, at *2
 3   (D.S.C. May 24, 2019); Ayo v. 3M Comp., No. 18-cv-0373, 2018 WL 4781145, at
 4   *6-15 (E.D.N.Y. Sept. 30, 2018). Such removal “fulfills the federal officer removal
 5   statute’s purpose of protecting persons who, through contractual relationships with
 6   the Government, perform jobs that the Government otherwise would have performed.”
 7   Isaacson v. Dow Chem. Co., 517 F.3d 129, 133 (2d Cir. 2008).
 8                             PLAINTIFFS’ COMPLAINT
 9         4.    This action was filed on December 1, 2020, in the Superior Court of the
10   State of California for the County of Orange, bearing Case No. 30-2020-01172419-
11   CU-PL-CXC. (Ex. 1, Complaint.)1 3M was served with the complaint on December
12   4, 2020. (Ex. 2, Proof of Service of Summons.) The operative complaint in this action
13   is Plaintiffs’ Second Amended Complaint, which Plaintiffs filed on May 19, 2021.
14   (Ex. 3, Second Amended Complaint (“Complaint” or “Compl.”).)
15         5.    The Complaint pleads that Plaintiff Orange County Water District
16   (“OCWD”) is responsible for managing the Orange County Groundwater Basin
17   (“Basin”)—a groundwater aquifer underlying portions of central and northern
18   Orange County that allegedly is one of “Southern California’s greatest water
19   supplies.” (Ex. 3, Compl. ¶ 1; see also id. ¶¶ 14, 67.) OCWD also allegedly manages
20   water supply from the Santa Ana River by capturing surface water that OCWD
21   “recharges” into the Basin. (Id. ¶ 1.) The Complaint further pleads that the other
22   named Plaintiffs (which include the City of Anaheim, East Orange County Water
23   District, City of Fullerton, City of Garden Grove, Irvine Ranch Water District, City
24   of Orange, City of Santa Ana, Serrano Water District, City of Tustin, and Yorba
25   Linda Water District) are municipal corporations and special districts that own and
26
27
           1
28           All exhibits are attached to the Declaration of Daniel Queen which is being
     filed contemporaneously with this Notice of Removal.
                                             -2-
                                                   NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 4 of 20 Page ID #:4



 1   operate public water systems, and the water they provide to their customers is
 2   extracted from the Basin. (Id. ¶¶ 2, 14; see also id. ¶¶ 24-33.)
 3           6.   Plaintiffs allege that they have brought this action to recover costs and
 4   obtain other relief relating to “widespread contamination of surface water and
 5   groundwater within the Basin with” PFOS and PFOA, which purportedly pose risks
 6   to human health. (Id. ¶¶ 3-4.) Specifically, Plaintiffs “seek abatement of an ongoing
 7   nuisance, to recover compensatory and all other damages and relief, including all
 8   necessary funds to compensate Plaintiffs for the costs of investigating and
 9   remediating the contamination of surface water and groundwater impacted by PFOA,
10   PFOS, and PFBS [perfluorobutanesulfonic acid] … , designing, constructing,
11   installing, operating, and maintaining the treatment facilities and equipment required
12   to remove PFOA, PFOS, and PFBS … from public water supplies, and for such other
13   damages and relief the Court may order.” (Id. ¶ 8.)
14           7.   Plaintiff alleges that 3M manufactured, marketed, and sold PFAS
15   chemicals (including PFOS and PFOA) as well as products containing them in the
16   State of California. (See id. ¶¶ 102-08.) Plaintiff further alleges that 3M owns and
17   operates the “3M Corona Facility” in Temescal Canyon; that 3M uses PFAS in the
18   manufacture of roofing products at the facility; that 3M also has sold PFAS chemicals
19   to DECRA Roofing Systems, Inc., for use in manufacturing roofing products at an
20   adjacent facility in Corona, California; and that PFAS releases from the two facilities
21   have contaminated Plaintiffs’ water supplies with PFOA and PFOS. (See id. ¶¶ 282-
22   291.)
23           8.   Plaintiffs assert claims against 3M and other Defendants for Strict
24   Products Liability Based on Design Defect (id. ¶¶ 292-314), Strict Products Liability
25   Based on Failure to Warn (id. ¶¶ 315-37), Continuing Trespass (id. ¶¶ 338-62),
26   Public and Private Nuisance (id. ¶¶ 363-96), Negligence (id. ¶¶ 397-412), liability
27
28

                                              -3-
                                                    NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 5 of 20 Page ID #:5



 1   under the Orange County Water District Act, Cal. Water Code App’x 40-1 et seq. (id.
 2   ¶¶ 413-422), and declaratory relief (id. ¶¶ 423-30).2
 3               THE PROCDEURAL REQUIREMENTS FOR REMOVAL
                     UNDER 28 U.S.C. §§ 1441 AND 1446 ARE MET
 4
           9.     Venue for the removal of this action is proper in this Court pursuant to
 5
     28 U.S.C. §§ 84(c)(3) and 1441(a) because the Superior Court of the State of
 6
     California for the County of Orange is located within the Central District of
 7
     California, Southern Division.
 8
           10.    3M is not required to notify or obtain the consent of any other Defendant
 9
     in this action to remove this action as a whole under § 1442(a)(1). See, e.g., Durham
10
     v. Lockheed Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006); Linden v. Chase
11
     Manhattan Corp., 1999 WL 518836, at *1 (S.D.N.Y. July 21, 1999); Torres v. CBS
12
     News, 854 F. Supp. 245, 246 n.2 (S.D.N.Y. 1994).
13
           11.    Pursuant to 28 U.S.C. § 1446(a), copies of “all process, pleadings, and
14
     orders served upon [3M]” in this action as of this date are being submitted to the
15
     Court along with the Notice of Removal as Exhibit 4.
16
           12.    This Notice of Removal is timely filed because “the case stated by the
17
     initial pleading [wa]s not removable” and no “other paper” served by Plaintiffs upon
18
     3M has disclosed a basis for removal. 28 U.S.C. § 1446(b); see Harris v. Bankers
19
     Life & Cas. Co., 425 F.3d 689, 694-95 (9th Cir. 2005) (“notice of removability under
20
     § 1446(b) is determined through examination of the four corners of the applicable
21
     pleadings,” in which “the ground for removal must be revealed affirmatively”);
22
     accord Durham, 445 F.3d at 1250. 3M is removing this action based on other
23
     information—not contained in the complaint or any other paper served by Plaintiffs
24
     in this litigation—identifying MilSpec AFFF as a plausible source of the alleged
25
26         2
            Plaintiffs also assert fraudulent transfer claims under California and
27   Delaware law against Defendants E.I. Dupont de Nemours and Company, The
28   Chemours Company, Corteva, Inc., and DuPont De Nemours, Inc. (Compl. ¶¶ 431-
     76.)
                                              -4-
                                                    NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 6 of 20 Page ID #:6



 1   contamination. As a result, removal of this action is timely. See Roth v. CHA
 2   Hollywood Med. Ctr., L.P., 720 F.3d 1121, 1125 (9th Cir. 2013).
 3         13.    Pursuant to 28 U.S.C. § 1446(d), 3M is serving a copy of this Notice of
 4   Removal upon all other parties to this case, and 3M is filing a copy with the Clerk of
 5   the Superior Court of the State of California for the County of Orange.
 6         14.    By filing a Notice of Removal in this matter, 3M does not waive the
 7   rights of any Defendant to object to service of process, the sufficiency of process,
 8   jurisdiction over the person, or venue, and 3M specifically reserves the rights of all
 9   Defendants to assert any defenses and/or objections to which they may be entitled.
10         15.    3M reserves the right to amend or supplement this Notice of Removal.
11   If any question arises as to the propriety of the removal of this action, 3M requests
12   the opportunity to present a brief and oral argument in support of removal.
13     REMOVAL IS PROPER UNDER THE FEDERAL OFFICER REMOVAL
14                   STATUTE, 28 U.S.C. § 1442(A)(1)
15         16.    Removal here is proper under 28 U.S.C. § 1442(a)(1), which provides
16   for removal when a defendant is sued for acts undertaken at the direction of a federal
17   officer. Removal is appropriate under this provision where the removing defendant
18   establishes that: (a) it is a “person” within the meaning of the statute; (b) it acted
19   under federal authority, and those actions have a causal nexus with the plaintiff’s
20   claims; and (c) it can assert a “colorable” federal defense. Durham, 445 F.3d at 1251;
21   accord Mesa v. California, 489 U.S. 121, 124-25, 129-31, 134-35 (1989); Goncalves
22   ex rel. Goncalves v. Rady Children’s Hosp. S.D., 865 F.3d 1237, 1244 (9th Cir. 2017).
23         17.    Removal rights under the federal officer removal statute, 28 U.S.C.
24   § 1442, are much broader than under the general removal statute, 28 U.S.C. § 1441.
25   Suits against defendants acting on behalf of federal officers “may be removed despite
26   the nonfederal cast of the complaint; the federal-question element is met if the
27   defense depends on federal law.” Jefferson Cty. v. Acker, 527 U.S. 423, 431 (1999).
28   This is because § 1442 “protect[s] federal officers” and “guarantee[s] its agents

                                             -5-
                                                   NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 7 of 20 Page ID #:7



 1   access to a federal forum if they are sued or prosecuted.” Durham, 445 F.3d at 1253.
 2   This important federal policy “should not be frustrated by a narrow, grudging
 3   interpretation of § 1442(a)(1).” Willingham v. Morgan, 395 U.S. 402, 407 (1969). To
 4   the contrary, the statute must be “liberally construed” in favor of removal. Durham,
 5   445 F.3d at 1252 (quoting Colorado v. Symes, 286 U.S. 510, 517 (1932)).
 6         18.    All requirements for removal under § 1442(a)(1) are satisfied where, as
 7   here, the notice of removal alleges that Plaintiff’s injuries were caused at least in part
 8   by MilSpec AFFF. See, e.g., Nessel, 2021 WL 744683, at *4 (denying motion to
 9   remand in PFAS case against AFFF manufacturers because, notwithstanding
10   plaintiffs’ assertion “that they do not seek resolution of any claims related to MilSpec
11   AFFF, . . . Plaintiffs cannot decide what defense Defendants might present”); Ayo,
12   2018 WL 4781145, at *6-15 (denying motion to remand and finding that federal
13   officer removal was proper in case against AFFF manufacturers). The court
14   overseeing the In re AFFF multi-district litigation has also found on multiple
15   occasions that removal under § 1442(a)(1) is proper where the notice of removal
16   alleges that plaintiffs’ claimed injuries were caused, at least in part, by MilSpec AFFF.
17   See In re AFFF, 2019 WL 2807266, at *2-3 (federal officer removal statute “entitl[ed]
18   [AFFF manufacturers] to have removed New York’s tort claims and [their] federal
19   defense to federal court”); Order 3-5, In re AFFF, No. 2:18-mn-2873-RMG, ECF No.
20   320 (D.S.C. Sept. 27, 2019); Order 3-6, In re AFFF, No. 2:18-mn-2873-RMG, ECF
21   No. 325 (D.S.C. Oct. 1, 2019). Given its experience with the claims and defenses in
22   AFFF litigation, the MDL Court’s holdings clearly show that removal to federal court
23   is proper in this case.
24         A.     MilSpec AFFF
25         19.    Since the late 1960s, the United States military has used MilSpec AFFF
26   on military bases, airfields, and Navy ships—settings where fuel fires are inevitable
27   and potentially devastating—to train its personnel, put out fires, save lives, and
28   protect property. Indeed, the United States Naval Research Laboratory developed

                                               -6-
                                                     NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 8 of 20 Page ID #:8



 1   AFFF—its researchers were granted the first AFFF patent in 1966.3 Decades later,
 2   the Naval Research Laboratory described the development of AFFF as “one of the
 3   most far-reaching benefits to worldwide aviation safety.”4
 4         20.     The manufacture and sale of AFFF procured by the military is governed
 5   by MilSpecs created and administered by Naval Sea Systems Command. The
 6   applicable specification, Mil-F-24385, was first promulgated in 1969, and has been
 7   revised a number of times since then.5 All MilSpec AFFF products must be “qualified
 8   for listing on the applicable Qualified Products List” prior to military procurement.6
 9   Prior to such listing, a “manufacturer’s … products are examined, tested, and
10   approved to be in conformance with specification requirements.” 7 The MilSpec
11   designates Naval Sea Systems Command as the agency responsible for applying
12   these criteria and determining whether AFFF products satisfy the MilSpec’s
13   requirements.8 After a product is added to the Qualified Products List, “[c]riteria for
14   retention of qualification are applied on a periodic basis to ensure continued integrity
15   of the qualification status.” 9 Naval Sea Systems Command “reserves the right to
16   perform any of the [quality assurance] inspections set forth in the specification where
17         3
               U.S. Patent No. 3,258,423 (filed Sept. 4, 1963; published June 28, 1966).
18         4
              U.S. Navy, NRL/MR/1001-06-8951, U.S. Naval Research Lab., The U.S.
19   Naval Research Laboratory (1923-2005): Fulfilling the Roosevelts’ Vision for
     American Naval Power, at 37 (June 30, 2006) (“Fulfilling the Roosevelts’ Vision”),
20   http://bit.ly/2mujJds.
21         5
              See Mil-F-24385 (1969). The November 1969 MilSpec and all its revisions
22   and amendments through April 2020 (MIL-PRF-24385F(4)) are available at
     https://tinyurl.com/yxwotjpg.
23         6
               MIL-PRF-24385F(4) § 3.1 (2020).
24         7
              Dep’t of Defense SD-6, Provisions Governing Qualification 1 (Feb. 2014),
25   https://tinyurl.com/y5asm5bw.
           8
26           See, e.g., MIL-PRF-24385F(4) at 18 (2020). The cited MilSpec designates
     Naval Sea Systems Command as the “Preparing Activity.” The “Preparing Activity”
27   is responsible for qualification. (See Dep’t of Defense SD-6, supra note 6, at 3.)
28         9
               Dep’t of Defense SD-6, supra note 7, at 1.

                                               -7-
                                                     NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 9 of 20 Page ID #:9



 1   such inspections are deemed necessary to ensure supplies and services conform to
 2   prescribed requirements.”10
 3         21.      From its inception until very recently, the MilSpec for AFFF included
 4   the express requirement that MilSpec AFFF contain “fluorocarbon surfactants.” All
 5   fluorocarbon surfactants are PFAS, and that category includes PFOA, PFOS, and
 6   their precursors—the very compounds at issue in the Complaint here.11 The current
 7   MilSpec expressly contemplates the presence of PFOA and PFOS (subject to recently
 8   imposed limits) in AFFF formulations.12 Indeed, the current MilSpec recognizes that
 9   it is not yet technically feasible for manufacturers to completely eliminate PFOA and
10   PFOS “while still meeting all other military specification requirements.”13
11         B.       The Alleged PFAS Contamination Of Plaintiffs’ Water Supplies
                    Plausibly Derives, At Least In Part, From MilSpec AFFF
12
           22.      Upon information and belief, the PFOS and PFOA chemicals that
13
     allegedly are contaminating the Basin have derived at least in part from the use,
14
     storage, or disposal of MilSpec AFFF at military bases and other sites in or near
15
     Orange County. Accordingly, Plaintiffs’ claims to recover for contamination of the
16
     Basin arise, at least in part, from MilSpec AFFF.
17
           23.      There are at least three current or former military bases in Orange
18
     County where contamination of groundwater from PFOS and PFOA has been
19
     identified: The former Marine Corps Air Base Tustin in Tustin, California (“MCAS
20
21         10
                See, e.g., MIL-PRF-24385F(4) § 4.1 (2020).
22         11
              See Mil-F-24385 § 3.2 (1969); MIL-PRF-24385F(2) § 3.2 (2017). In May
23   2019, the MilSpec was revised to drop the explicit requirement that the surfactants in
     the product be “fluorocarbon.” See MIL-PRF-24385F(3) § 3.2 (2019). But under
24
     current technology, the only AFFF products capable of meeting the MilSpec’s
25   stringent performance requirements—and the only ones listed on the military’s
     Qualified Product List—are those containing fluorocarbon surfactants. Thus, as a
26
     practical matter, the MilSpec still requires fluorocarbon surfactants.
27         12
                See MIL-PRF-24385F(4) § 6.6 & Tables 1, 3 (2020).
28         13
                Id. § 6.6.

                                              -8-
                                                    NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 10 of 20 Page ID #:10



  1   Tustin”); the former Marine Corps Air Station El Toro in Irvine, California (“MCAS
  2   El Toro”); and the Joint Forces Training Base in Los Alamitos, California (“JFTB
  3   Los Alamitos”). See Ex. 5, Naval Facilities Engineering Command, Per-and
  4   Polyfluoroalkyl Substances Update: Former Marine Corps Air Station Tustin, Tustin,
  5   California 1823-26 (Oct. 8, 2020) (“MCAS Tustin PFAS Update”) (summarizing
  6   PFAS investigation and identifying plumes of PFOS and PFOA at MCAS Tustin);
  7   Ex. 6, Naval Facilities Engineering Command, Per- and Polyfluoroalkyl Substances
  8   Update: Fomer Marine Corps Air Station El Toro, Irvine, California 1847-53 (Mar.
  9   17, 2021) (“MCAS El Toro Update”) (summarizing PFAS investigation and
 10   identifying plumes of PFOS and PFOA at MCAS El Toro); Ex. 7, D. Cloud, A.
 11   Philips, and T. Barboza, Firefighting foam leaves toxic legacy in Californians’
 12   drinking water, L.A. Times, at 1869 (Oct. 8, 2020) (“L.A. Times Article”) (“Recently
 13   released Pentagon documents obtained through a public records request . . . showed
 14   three more bases in California with elevated contamination levels” including JFTP
 15   Los Alamitos).14
 16         24.   Upon information and belief, the DOD has determined that “[h]istorical
 17   AFFF use [is] considered the most likely source of PFAS releases” at military bases
 18   in Orange County. E.g., Ex. 5, MCAS Tustin PFAS Update 1827; Ex. 8, Naval
 19   Facilities Engineering Command, Per- and Polyfluoroalkyl Substances Update:
 20   Fomer Marine Corps Air Station El Toro, Irvine, California 1880 (Sept. 9, 2020)
 21   (same); see also Ex. 7, L.A. Times Article 1867 (“Firefighting foam is considered a
 22   major contributor to the contamination” at California bases). Any AFFF used, stored,
 23   or discharged at those military sites would have been MilSpec AFFF.
 24         25.   Upon information and belief, OCWD is itself already engaged in
 25   ongoing efforts to monitor and investigate PFAS contamination of the Basin that has
 26
 27         14
               See also California State Water Resources Control Board, PFAS—Military,
 28   https://www.waterboards.ca.gov/pfas/military.html (identifying 62 military facilities
      in California “with a known or suspected” PFAS release).
                                              -9-
                                                    NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 11 of 20 Page ID #:11



  1   resulted from AFFF releases at military bases. See, e.g., Ex. 9, Orange County Water
  2   District, OCWD Update 1892 (Mar. 2021) (OCWD “PFAS monitoring” will involve
  3   testing of “wells in Orange County operating nearby current or former military
  4   facilities”); Ex. 10, Orange County Water District, OCWD PFAS Update 1896 (Mar.
  5   26, 2020) (“California . . . ha[s] found that PFAS chemicals, such as PFOA and PFOS
  6   have made their way into our local groundwater, including near . . . military bases
  7   where these chemicals are commonly used.”); see also Ex. 7, L.A. Times Article
  8   1864-65 (“In . . . Orange County . . . , PFAS have been detected in . . . public water
  9   systems outside the boundaries of military installations, records show.”).
 10         26.    OCWD has specifically identified MCAS Tustin, MCAS El Toro, and
 11   JFTB Los Alamitos as “[p]otential [g]eneral sources of PFAS releases” that have
 12   contributed to contamination of the Basin. See Ex. 11, Orange County Water District,
 13   PFAS in the Orange County Groundwater Basin: Occurrence, Regulation, and
 14   Impacts on Local Water Supply 1917 (June 17, 2020) (identifying “Military Bases,”
 15   including MCAS Tustin, MCAS El Toro, and JFTB Los Alamitos, as “Potential
 16   General Sources of PFAS Releases”); see also Ex. 12, PFAS Treatment for Municipal
 17   Water Supply 1943 (Apr. 29, 2020) (OCWD presentation identifying “Three Military
 18   Bases” as “Potential Local Sources”). OCWD is monitoring and investigating those
 19   military bases as sources of the PFAS contamination for which they seek to recover
 20   in this case. See Ex. 13, Orange County Water District, PFAS Monitoring in Orange
 21   County & Upper Santa Ana River Watershed 1993 (May 2, 2019) (“Ongoing OCWD
 22   [m]onitoring” “at military sites (El Toro MCAS, Tustin MCAS, etc.)”).
 23         27.    Additionally, on February 16, 2021, the California State Water
 24   Resources Control Board issued an order requiring four of the named Plaintiffs to
 25   monitor and test for PFAS because DOD “has identified facilities that have used
 26   AFFF known to contain PFAS in the State of California” in the vicinity of Plaintiffs’
 27   water supplies. See Ex. 14, California State Water Resources Control Board, Division
 28   of Drinking Water, Order DW 2021-0001-DDW, General Order Requiring

                                              - 10 -
                                                       NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 12 of 20 Page ID #:12



  1   Monitoring for [PFAS] ¶ 13 (“Water Board Order”).15 A letter from the Board to
  2   Plaintiffs stated that Plaintiffs were being required to test and monitor for PFAS
  3   because the Board had “determined that it is necessary to test sources located within
  4   and adjacent to the [DOD] facilities.” Ex. 16, Letter from California State Water
  5   Resources Control Board 2018 (Feb. 16, 2021). The Board’s order requiring PFAS
  6   monitoring of Plaintiffs’ water supplies due to their proximity to military bases
  7   confirms that Plaintiffs’ claims plausibly derive, at least in part, from releases of
  8   PFAS from military bases where MilSpec AFFF would have been used.
  9         28.    Because Plaintiffs’ claims to recover for PFOS and PFOA
 10   contamination likely arise—at least in part—from the use, storage, or disposal of
 11   MilSpec AFFF at nearby military bases, 3M is entitled to remove this case as a whole
 12   to federal court under the federal officer removal statute, 28 U.S.C. § 1442(a)(1).16
 13         C.     All The Requirements Of 28 U.S.C. § 1442(a)(1) Are Satisfied
 14                1.    The “Person” Requirement Is Satisfied
 15         29.    The first requirement for removal under the federal officer removal
 16   statute is satisfied because 3M (a corporation) is a “person” under the statute. For
 17   purposes of § 1442(a)(1), the term “person” includes “‘companies, associations,
 18   firms, [and] partnerships.’” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 812 (3d Cir.
 19   2016) (quoting 1 U.S.C. § 1). The Ninth Circuit has recognized that a non-natural
 20   entity is a “person” for purposes of § 1442(a)(1). See Goncalves, 865 F.3d at 1244;
 21   accord Lombardi v. TriWest Healthcare All. Corp., No. CV-08-02381-PHX-FJM,
 22
            15
 23            Plaintiffs City of Garden Grove, Irvine Ranch Water District, City of Santa
      Ana, and City of Tustin were subject to the Order. See Ex. 15, Water Board Order
 24   Ex. A, at 2010-11.
 25         16
                Upon information and belief, there likely are other sites where the use of
 26   MilSpec AFFF has contributed to the contamination of Plaintiffs’ water supplies. For
      instance, in 1986, AFFF from a Marine Corps fire station reportedly was used for
 27   firefighting activities in Orange County following the rupture of a gasoline pipeline.
 28   Ex. 17, Edward G. Fleming, Dam as Defense, Fire Engineering, Apr. 1, 1988, at
      2027.
                                              - 11 -
                                                       NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 13 of 20 Page ID #:13



  1   2009 WL 1212170, at *2 (D. Ariz. May 4, 2009).
  2                  2.     The “Causal Nexus” Requirement Is Satisfied
  3         30.      The second requirement is that the defendant has acted under a federal
  4   officer, and that those actions have a causal nexus with the plaintiff’s claims. Durham,
  5   445 F.3d at 1251.
  6         31.      A defendant is “acting under” a federal officer when it assists or helps
  7   carry out the duties or tasks of a federal officer. Goncalves, 865 F.3d at 1245. The
  8   words “acting under” are to be interpreted broadly. Id. Federal courts “have explicitly
  9   rejected the notion that a defendant could only be ‘acting under’ a federal officer if
 10   the complained-of conduct was done at the specific behest of the federal officer or
 11   agency.” Papp, 842 F.3d at 813.
 12         32.      3M was “acting under” a federal officer here because, in providing
 13   MilSpec AFFF, 3M was furnishing a vital product “that, in the absence of Defendants,
 14   the Government would have had to produce itself.” Isaacson, 517 F.3d at 137.
 15   MilSpec AFFF is a mission critical military product that, without the support of
 16   private contractors, the government would have to produce for itself. See Ayo, 2018
 17   WL 4781145, at *9 (describing MilSpec AFFF as a “mission critical” and “life-
 18   saving product” used by all branches of the U.S. armed forces and NATO members).
 19   The Naval Research Laboratory states that, “[a]lthough [it] was responsible for the
 20   original concepts and formulations, it was necessary to elicit the aid of the chemical
 21   industry to synthesize the fluorinated intermediates and agents to achieve
 22   improvements in formulations.”17 Accordingly, the military has long depended upon
 23   outside contractors like 3M to develop and supply AFFF. See Nessel, 2021 WL
 24   744683, at *3 (holding that AFFF manufacturers were “acting under” a federal officer
 25   in connection with the manufacture and sale of MilSpec AFFF); Ayo, 2018 WL
 26   4781145, at *8-9 (holding that Defendants were “acting under” a federal officer in
 27
 28         17
                 Fulfilling the Roosevelts’ Vision at 37.

                                                - 12 -
                                                         NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 14 of 20 Page ID #:14



  1   connection with the manufacture and sale of MilSpec AFFF); In re AFFF, 2019 WL
  2   2807266, at *2 (finding “acting under” requirement was satisfied because AFFF
  3   manufacturer defendant “has demonstrated that it was manufacturing the product
  4   under the U.S. military’s guidance”). If 3M and other manufacturers did not provide
  5   MilSpec AFFF for use at military bases, the government would have to manufacture
  6   and supply the product itself.
  7         33.      In designing, manufacturing, and supplying the MilSpec AFFF products
  8   at issue, 3M acted under the direction and control of one or more federal officers.
  9   Specifically, 3M acted in accordance with detailed specifications, promulgated by
 10   Naval Sea Systems Command, that govern AFFF formulation, performance, testing,
 11   storage, inspection, packaging, and labeling. 18 Further, the AFFF products in
 12   question were subject to various tests by the United States Navy before and after
 13   being approved for use by the military and for inclusion on the Qualified Products
 14   List maintained by the United States Department of Defense.19
 15         34.      The requirement that a defendant’s actions were taken “under color of
 16   federal office … has come to be known as the causation requirement.” Isaacson, 517
 17   F.3d at 137 (internal quotation marks, alterations, and citation omitted). Like the
 18   “acting under” requirement, the “hurdle erected by this requirement is quite low.”
 19   Goncalves, 865 F.3d at 1245 (quoting Isaacson, 517 F.3d at 137).20 Courts “credit
 20   Defendants’ theory of the case when determining whether [this] causal connection
 21   exists.” Isaacson, 517 F.3d at 137.
 22
 23
            18
 24            See Mil-F-24385 (1969) and subsequent revisions and amendments, cited in
      note 5, supra.
 25
            19
                 See Dep’t of Defense SD-6, supra note 7, at 1.
 26         20
               The “acting under” and “under color of” prongs overlap. Both “are satisfied
 27   if the actions subject to suit resulted directly from government specifications or
 28   direction.” Albrecht v. A.O. Smith Water Prods., No. 11 Civ. 5990, 2011 WL
      5109532, at *5 (S.D.N.Y. Oct. 21, 2011).
                                               - 13 -
                                                        NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 15 of 20 Page ID #:15



  1         35.    To show a causal nexus with the plaintiff’s claims, a defendant need
  2   only establish that the act that allegedly caused or contributed to the plaintiff’s injury
  3   occurred while the defendant was performing its official duties. Isaacson, 517 F.3d
  4   at 137-38; see also Papp, 842 F.3d at 813 (explaining that in order to meet the
  5   causation requirement, it is “sufficient for there to be a connection or association
  6   between the act in question and the federal office”).
  7         36.    Here, Plaintiff’s claims against 3M arise at least in part from alleged
  8   contamination of its water supply with PFAS that plausibly derives from MilSpec
  9   AFFF. 3M contends that the use of such chemicals was required by military
 10   specifications. The conflict is apparent: MilSpec AFFF was developed for use by the
 11   military, and was designed to meet specifications established by the Department of
 12   Defense. The liability that Plaintiffs are attempting to impose via state tort law due
 13   to the design choices related to the production of MilSpec AFFF would create a
 14   conflict in which 3M could not “comply with both its contractual obligations and the
 15   state-prescribed duty of care.” Boyle v. United Tech. Corp., 487 U.S. 500, 509 (1988);
 16   see also Ayo, 2018 WL 4781145, at *9 (“[T]here is evidence of a ‘causal connection’
 17   between the use of PFCs in AFFF and the design and manufacture of AFFF for the
 18   government.”); accord In re AFFF, 2019 WL 2807266, at *3 (“Here, [plaintiff’s]
 19   claims arise out of use of AFFF products that it claims [the defendant] manufactured
 20   and sold, and for which the U.S. military imposes MilSpec standards. The Court . . .
 21   finds that the causation element of federal officer removal is satisfied here.”).
 22         37.    Because Plaintiffs’ alleged injuries arise at least in part from MilSpec
 23   AFFF, there is a causal connection between those alleged injuries and 3M’s actions
 24   under color of federal office. It is irrelevant that Plaintiffs do not expressly contend
 25   that any of their injuries derive from MilSpec AFFF; the fact that some portion of the
 26   alleged injuries could plausibly derive from MilSpec AFFF is sufficient. “In assess-
 27   ing whether a causal nexus exists, [courts] credit the defendants’ theory of the case.”
 28   Leite v. Crane Co., 749 F.3d 1117, 1124 (9th Cir. 2014); see also Nessel, 2021 WL

                                                - 14 -
                                                         NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 16 of 20 Page ID #:16



  1   744683, at *3 (rejecting plaintiffs’ argument that federal officer removal was
  2   improper because “they do not seek resolution of any claims related to MilSpec
  3   AFFF,” and explaining that plaintiffs “cannot prevent Defendants from raising the
  4   production of MilSpec AFFF as a defense or an alternate theory”).
  5                3.     The “Colorable Federal Defense” Requirement Is Satisfied
  6         38.    The third requirement—that the defendant have a “colorable federal
  7   defense”—is satisfied by 3M’s assertion of the government contractor defense. The
  8   Ninth Circuit has recognized that this defense supports removal under § 1442(a)(1).
  9   See Leite, 749 F.3d at 1124.
 10         39.    At the removal stage, a defendant need only show that its government
 11   contractor defense is “colorable.” Leite, 749 F.3d at 1124 (quoting Jefferson Cty.,
 12   527 U.S. at 407). “To be ‘colorable,’ the defense need not be ‘clearly sustainable,’ as
 13   the purpose of the statute is to secure that the validity of the defense will be tried in
 14   federal court.” Isaacson, 517 F.3d at 139 (citation omitted). At the removal stage, the
 15   inquiry “is purely jurisdictional, and neither the parties nor the district courts should
 16   be required to engage in fact-intensive motion practice, pre-discovery, to determine
 17   the threshold jurisdictional issue.” Cuomo v. Crane Co., 771 F.3d 113, 116 (2d Cir.
 18   2014) (quoting Kircher v. Putnam Funds Trust, 547 U.S. 633, 644 n. 12 (2006)).21
 19   Moreover, “this inquiry is undertaken whilst viewing the facts in the light most
 20   favorable to Defendants.” Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 783-
 21   84 (E.D. Pa. 2010). “Precisely in those cases where a plaintiff challenges the factual
 22   sufficiency of the defendant’s defense, the defendant should ‘have the opportunity to
 23   present [his] version of the facts to a federal, not a state, court.’” Cuomo, 771 F.3d at
 24   116 (citation omitted).
 25
 26         21
              See also Kraus v. Alcatel-Lucent, 2018 WL 3585088, at *2 (E.D. Pa. July
 27   25, 2018) (“A court does not ‘determine credibility, weigh the quantum of evidence
      or discredit the source of the defense’ at this stage. Instead, [the court] only
 28   determine[s] whether there are sufficient facts alleged to raise a colorable defense.”).

                                               - 15 -
                                                        NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 17 of 20 Page ID #:17



  1         40.      Under the government contractor defense, the defendant is not liable for
  2   alleged defects or negligence with respect to military equipment or supplies “when
  3   (1) the United States approved reasonably precise specifications; (2) the equipment
  4   conformed to those specifications; and (3) the supplier warned the United States
  5   about the dangers in the use of the equipment that were known to the supplier but not
  6   to the United States.” Boyle, 487 U.S. at 512.
  7         41.      3M has alleged facts that satisfy these elements for purposes of removal.
  8   As discussed above, Naval Sea Systems Command approved reasonably precise
  9   specifications, governing AFFF formulation, performance, testing, storage,
 10   inspection, packaging, and labeling.22 Indeed, 3M’s products appeared on the DOD
 11   Qualified Products Listing,23 which could have happened only if Naval Sea Systems
 12   Command had first determined that they conformed to the MilSpec.24 See Ayo, 2018
 13   WL 4781145, at *13 (“[T]here is colorable evidence that Manufacturing Defendants’
 14   Mil-Spec AFFF is not a stock product and that the government approved reasonably
 15   precise specifications requiring them to use PFCs, including PFOS and PFOA, in
 16   their products.”); see also id. (“There is also colorable evidence … that
 17   Manufacturing Defendants’ AFFF products conformed to the government’s
 18   reasonably precise specifications.”); In re AFFF, 2019 WL 2807266, at *3 (finding
 19   that defendant demonstrated a colorable defense “where it contends that its AFFF
 20   products were manufactured according to the U.S. military’s MilSpec
 21   specifications”).
 22
            22
 23            See Mil-F-24385 (1969) and subsequent revisions and amendments, cited in
      note 5, supra.
 24
            23
              MIL-F-24385 QPL/QPD History for Type 3 AFFF (Oct. 24, 2014),
 25   http://www.dcfpnavymil.org/Systems/AFFF/QPL%2024385%20HIST
 26   ORY%20-%20TYPE%203.pdf; MIL-F-24385 QPL/QPD History for Type 6 AFFF
      (Oct. 24, 2014), http://www.dcfpnavymil.org/Systems/AFFF/QPL%
 27   2024385%20HISTORY%20-%20TYPE%206.pdf.
 28         24
                 See Dep’t of Defense SD-6, supra note 7, at 1.

                                                - 16 -
                                                         NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 18 of 20 Page ID #:18



  1          42.     Moreover, the U.S. government was adequately informed regarding
  2   alleged product-related “dangers,” Boyle, 487 U.S. at 512, to exercise its
  3   discretionary authority in specifying and procuring MilSpec AFFF. The military
  4   specifications have long included testing protocols and requirements for toxicity,
  5   chemical oxygen, and biological demand.25 Indeed, it is clear that the United States
  6   has long understood that AFFF may contain or break down into PFOS and/or PFOA,
  7   that AFFF constituents can migrate through the soil and potentially reach
  8   groundwater, and that it has been reported that this may raise environmental or health
  9   issues.26
 10          43.     In fact, as early as October 1980, a report supported by the U.S. Navy
 11   Civil Engineering Laboratory, U.S. Air Force Engineering Service Center, and the
 12   U.S. Army Medical Research and Development Command stated that AFFF
 13   contained fluorocarbons and that “[a]ll of the constituents resulting from firefighting
 14   exercises are considered to have adverse effects environmentally.”27 In June 1991,
 15   the Air Force stated that past Air Force fire training activities resulted in “adverse
 16   environmental impact,” including “soil contamination” and the “potential” for
 17   “groundwater contamination.” 28 More recently, in a November 2017 report to
 18   Congress, the Department of Defense acknowledged the concerns raised by the EPA
 19   regarding PFOS and PFOA in drinking water. Nonetheless, it still described AFFF
 20   containing PFOS or PFOA as a “mission critical product [that] saves lives and
 21
 22
             25
 23               See, e.g., MIL-F-24385 §§ 3.16 & 4.7.16 (Rev. May 2, 1977).
             26
               See, e.g., EPA, Revised Draft Hazard Assessment of Perfluorooctanoic Acid
 24
      and its Salts, at 1-6 (Nov. 4, 2002) (excerpt).
 25          27
               See Edward S. K. Chian et al., Membrane Treatment of Aqueous Film
 26   Forming Foam (AFFF) Wastes for Recovery of Its Active Ingredients 1 (Oct. 1980),
      http://www.dtic.mil/dtic/tr/fulltext/u2/a136612.pdf.
 27
             28
               USAF, Engineering Technical Letter ETL 91-4: Site Selection Criteria for
 28   Fire Protection Training Areas 2 (June 14, 1991).

                                               - 17 -
                                                        NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 19 of 20 Page ID #:19



  1   protects assets by quickly extinguishing petroleum-based fires.”29 Until just earlier
  2   this year, Naval Sea Systems Command continued to expressly require that MilSpec
  3                                                      30
      AFFF contain “fluorocarbon surfactants,”                and even today the MilSpec
  4   contemplates the presence of “PFOS” and “PFOA” in AFFF formulations.31 See Ayo,
  5   2018 WL 4781145, at *12 (“That the DoD knows of the alleged risks of PFC-based
  6   AFFF products but continues to purchase them supports the position that the
  7   government approved reasonably precise specifications for the claimed defective
  8   design.”); In re AFFF, 2019 WL 2807266, at *3 (“As to whether [defendant]
  9   adequately informed the U.S. military of dangers associated with its AFFF products
 10   of which the military were not already aware, [it] points to materials such as a
 11   November 2017 Department of Defense report to Congress, in which the agency
 12   acknowledged the [EPA’s] stated concerns with PFOS/PFOA in drinking
 13   water . . . .”).
 14          44.     At a minimum, these facts constitute colorable evidence that Naval Sea
 15   Systems Command “made a discretionary determination” regarding the formulation
 16   of MilSpec AFFF after weighing the fire-suppression benefits against the alleged
 17   risks. See In re Agent Orange Prod. Liab. Litig., 517 F.3d 76, 90 (2d Cir. 2008); see
 18   also Albrecht v. A.O. Smith Water Prods., 2011 WL 5109532, at *5 (S.D.N.Y. 2011)
 19   (“A defendant is not required to warn the government where ‘the government knew
 20   as much or more than the defendant contractor about the hazards of the product.’”)
 21   (citation omitted). Where, as here, the government has exercised “discretionary
 22   authority over areas of significant federal interest such as military procurement,” the
 23   government contractor defense applies. In re Agent Orange Prod. Liab. Litig., 517
 24   F.3d at 89-90.
 25
             29
              Dep’t of Defense, Aqueous Film Forming Foam Report to Congress, at 1-2
 26
      (Oct. 2017) (pub. Nov. 3, 2017).
 27          30
                  See MIL-PRF-24385F(2) § 3.2 (2017).
 28          31
                  MIL-PRF-24385F(4) § 6.6 & Tables 1, 3 (2020).

                                               - 18 -
                                                        NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
Case 8:21-cv-01029-SVW-AS Document 1 Filed 06/11/21 Page 20 of 20 Page ID #:20



  1         45.    3M’s use of PFAS in MilSpec AFFF was required by military
  2   specifications. By seeking to impose tort liability on 3M for alleged injuries to
  3   Plaintiffs that were caused in whole or in part by 3M’s compliance with military
  4   specifications, Plaintiffs are attempting to use state tort law to attack design choices
  5   dictated by the military. The government contractor defense precludes such an attack.
  6   See Boyle, 487 U.S. at 509.
  7         46.    Accordingly, 3M is entitled to remove this action to federal court
  8   pursuant to the federal officer removal statute, 28 U.S.C. § 1442(a)(1).
  9                                          *****
 10         WHEREFORE, 3M hereby removes this action from the Superior Court of the
 11   State of California for the County of Orange, to the United States District Court for
 12   the Central District of Southern Division.
 13
      Dated: June 11, 2021                         MAYER BROWN LLP
 14                                                John Nadolenco
                                                   Daniel D. Queen
 15
                                                   HOGAN LOVELLS US LLP
 16                                                J. Tom Boer
 17
                                                   By: /s/ Daniel D. Queen
 18                                                   Daniel D. Queen
 19                                                Attorneys for Defendant
 20                                                3M Company

 21
 22
 23
 24
 25
 26
 27
 28

                                               - 19 -
                                                        NOTICE OF REMOVAL; CASE NO. 8:21-CV-1029
